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                        IN THE UNITED STATES DISTRICTCOURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

   UNITED STATES OF AMERICA                     $
                                                $
                                                $        No.4:24{R-70
                                                $        Judge Mazzant
   MICHAEL AXEL FLORES RAMIREZ                  $




                                      FACTUAL BASIS

         The defendant, MICHAEL AXEL FLORES RAMIREZ, hereby stipulates and

  agrees that at all times rrlevant to the First Superseding Indictment herein, the following

  facts were true:

      l. That I, MICHAEL AXEL FLORES RAMIREZ am pleading guilty to Count One
         of the First Superseding Indictment, l8 U.S.C. $$ 933(aX2), (3) (Trafficking in

         Firearms; Attempt), and am the same person charged in the First Supeneding

         Indictment.

     2. That the events alleged in the First Superseding Indictment occurred in the Eastem

         District of Texas on or about the dates and places specified in the First

         Supersed ing Indictment.

     3. That on or about May 1,2021, and continuing up to and including the date of the

         filing of this Fint Superseding Indictment, I did knowingly conspire and agree

         with others known and unknown to the United States Crand Jury to receive or

         attempt to receive, in and affecting interstate commerce, frearms, to-wit: FN




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           M249S 5.56 caliber rifles, Barett, .50 caliber rifles, AK47 rifles, FN SCAR rifles,

           Century Arms Intemational VSKA .762 rifles.

     4. That I knew or had reasonable cause to believe that the rcceipt of said firearms
           would constitute a felony offense under Federal or State law, punishable by

           inprisonment for a term exceed ing one year.

     5. That said firearms listed in paragra.ph three above, had traveled in interstate or
           foreign commerce as defined by 18 U.S.C. g 921(a(2).


                 DEFENDANT'S SIGNATURE AND ACKNO WLEDGMENT

           I have read or bad read to me this factual basis in support ofmy plea agreement

     and the First Superseding Indictment and have discussed them with my attomey. I

     fully undentand the contents of this factual basis and agrce without reservation that

     the United States can prcve each of these acts and that it accurately describes my acts

     and the events as rccited as I know them.

  Dated:       qlzl z;
                 t1                                  MICHAEL AXEL FLORES RAMIREZ
                                                     Defendant




            DEFENSE COUNSEL'S SIGNA                   AND ACKNOWLEDGMENT

           I have read this factual basis in support of plea agreement and the Ftst

     Superseding Indictment and have reviewed them with my client. Based upon my

     discussion with the defendant, I am satisfied that the defendant understands the




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      factual basis as well as the First Superseding Indictment, and is knowingly and

      voluntarily              to these stipulated facts.

  Dated:                   ?{
                                                            Attomey for




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